               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          BRYSON CITY DIVISION
                                2:09 CR 29-3


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )             ORDER
                                              )
JONATHAN THAD LACKEY,                         )
                                              )
                 Defendant.                   )
____________________________________          )


       THIS CAUSE coming on to be heard and being heard before the undersigned

upon a violation report filed in the above entitled cause on November 3, 2009 by the

United States Probation Office. In the violation report, the United States Probation

Office alleged that the defendant had violated terms and conditions of his pretrial

release. At the call of this matter on for hearing it appeared that the defendant was

present with his counsel, Attorney Richard Cassady, and the Government was present

through Assistant United States Attorney, Don Gast, and from the evidence offered

and from the statements of the Assistant United States Attorney and the attorney for

the defendant, and the records in this cause, the court makes the following findings.

       Findings: At the call of the matter, the defendant, by and through his attorney,

admitted the allegations contained in the violation report that had been filed on

November 3, 2009. The government introduced, without objection, the violation




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report into evidence. Testimony was then presented through cross-examination by

defendant’s counsel of Robert T. Ferguson, United States Probation Officer.

      The defendant was charged in a bill of indictment filed on October 7, 2009

with one count of conspiracy to possess with intent to distribute a controlled

substance, that being marijuana. A hearing was held in regard to the detention of the

defendant on October 30, 2009. On that date, the undersigned entered an Order

releasing the defendant on a $25,000 unsecured bond. The undersigned further set

conditions of release which included the following, “that the defendant shall travel

from the detention center to the McLeod Center for the CHAMPS program.” As a

part of this condition, the undersigned instructed the defendant and his mother,

Tammy Lambert, who agreed to act as a third-party custodian, that Ms. Lambert

should take the defendant directly from the Cherokee County detention center to the

McLeod Center in Charlotte, NC by the most direct route and she was to make no

additional stops other than to go to the restroom on the way. Ms. Lambert was to pick

up the defendant at the Cherokee County detention center on November 2, 2009.

      On November 2, 2009, United States Probation Officer Robert Ferguson

received a telephone call from Special Agent Billy Stites of the Bureau of Indian

Affairs and who has been assigned to the Drug Enforcement Administration Task

Force. Agent Stites told Officer Ferguson that Agent Stites had received information

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over the weekend of October 31st and November 1st that the defendant planned to

stop by his girlfriend’s residence to have sexual relations prior to traveling to the

McLeod Center in Charlotte, NC as directed by the court. Agent Stites conducted

surveillance at the home of the defendant’s girlfriend on the morning of November

2, 2009. The defendant arrived at the residence with his mother and with his

girlfriend. The defendant and his girlfriend entered the residence of the defendant’s

girlfriend where they remained for approximately twenty-five minutes. During this

period of time, the third-party custodian, Tammy Lambert, remained outside of the

residence in an automobile. The defendant and his girlfriend later exited the

residence and when they began to travel away from the residence, the vehicle was

stopped and the defendant was arrested, pursuant to instructions from the

undersigned.

         Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer

shall enter an order of revocation and detention if, after a hearing, the judicial officer

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         (1)    finds that there is----
                (A) probable cause to believe that the person has committed a
         Federal, State, or local crime while on release; or
                (B) clear and convincing evidence that the person has violated any
          other condition of release; and
         (2) finds that ---
                (A) based on the factors set forth in section 3142(g) of this title, there

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      is no condition or combination of conditions of release that will assure that the
      person will not flee or pose a danger to the safety of any other person or the
      community; or
             (B) the person is unlikely to abide by any condition or combination
      of conditions of release.

      If there is probable cause to believe that, while on release, the person
committed a Federal, State, or local felony, a rebuttable presumption arises that no
condition or combination of conditions will assure that the person will not pose a
danger to the safety of any other person or the community.”


      Based upon the evidence, the undersigned finds there is probable cause to

believe that the defendant has violated the terms and conditions of pretrial release.

The defendant and his mother were instructed by the undersigned on November 2,

2009, the defendant’s mother, Tammy Lambert, was to pick up the defendant at the

detention center of Cherokee County, NC and go by the most direct route to the

McLeod Center in Charlotte, NC so the defendant could receive treatment. The

defendant and his mother violated this condition of release.

      Based upon this violation, it appears by clear and convincing evidence that the

defendant has violated the condition of release and it further appears, and the court

finds as a result of such violation, that the defendant is a person who is unlikely to

abide by any condition or combination of conditions of release.

      The undersigned further finds, based upon a reconsideration of the factors as

set forth under 18 U.S.C. § 3142(g), that there are no conditions or combination of


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conditions of release that would assure that the defendant would not flee or pose a

danger to the safety of any other person or the community.

      As a result of the above referenced findings, the undersigned has determined

to enter an order of revocation revoking the unsecured bond and the terms of pretrial

release previously issued in this matter and entering an order detaining the defendant.




                                      ORDER

      IT IS, THEREFORE, ORDERED that the unsecured bond and terms and

conditions of pretrial release entered in this matter are hereby REVOKED and it is

ORDERED that the defendant be detained pending further proceedings in this

matter.

                                          Signed: November 10, 2009




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